

Matter of Burgett (2024 NY Slip Op 05760)





Matter of Burgett


2024 NY Slip Op 05760


Decided on November 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, MONTOUR, GREENWOOD, AND HANNAH, JJ. (Filed Oct. 17, 2024.)


&amp;em;

[*1]MATTER OF DALTON JAMES BURGETT, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDER
Application to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








